     Case: 1:05-cv-01206 Document #: 71 Filed: 10/12/06 Page 1 of 1 PageID #:283

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 2.5
                                 Eastern Division

Lisa Scandora
                                     Plaintiff,
v.                                                     Case No.: 1:05−cv−01206
                                                       Honorable Virginia M. Kendall
Village of Melrose Park, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 12, 2006:


        MINUTE entry before Judge Sidney I. Schenkier : The Court strikes the 10/19/06
status hearing and resets it for 10/18/2006 at 09:00 AM.Telephone notice(mmm, )




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